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 2
                                                                                              DENIED
 3                                                                           BY ORDER OF THE COURT
 4                                                                          NO SHOWING OF GOOD CAUSE
                                                                                        2/26/19
 5
 6
 7
 8                                          UNITED STATES DISTRICT COURT
 9                                       CENTRAL DISTRICT OF CALIFORNIA
10
11 KATHY DOMINGUEZ, an individual,                                                Case No. 2:18-cv-05553-JFW-E
12
                Plaintiff,                                                        Hon. John F. Walter
13
                vs.                                                               [PROPOSED] ORDER GRANTING
14                                                                                JOINT STIPULATION AND
   KOHL’S DEPARTMENT STORES, INC.,                                                APPLICATION TO CONTINUE
15 a corporation; and DOES 1 through 50,                                          TRIAL AND ALL ASSOCIATED
16 inclusive,                                                                     DEADLINES (INCLUDING
                                                                                  DISCOVERY DEADLINES)
17                          Defendants.
18
19
                                                                                  Complaint Filed: May 14, 2018
20                                                                                Trial Date:      June 18, 2019
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       KOH01-68:[Proposed] Order Granting Joint Stipulation and Request to Continue Trial and All Associated Pre-Tri.DOCX:2-26-19   -1-
              [PROPOSED] ORDER GRANTING JOINT STIPULATION AND APPLICATION TO CONTINUE TRIAL
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1                Pursuant to the parties’ Joint Stipulation and Application to Continue Trial and
2 All Associated Deadlines (Including Discovery Deadlines), and good cause appearing
3 therefor, it is hereby ORDERED that:
4
5                1.         Trial is continued from June 18, 2019 to September 17, 2019 at 8:30 a.m.;
6
7                2.         The hearing on Motions in Limine and Disputed Jury Instructions is
8                           continued to September 6, 2019 at 10:00 a.m.;
9
10               3.         The Pre-Trial Conference is continued to August 30, 2019 at 10:00 a.m.;
11
12               4.         The deadline to submit the Pre-Trial Conference Order; Motions in Limine;
13                          Memoranda of Contentions of Fact and Law; Pre-Trial Exhibit Stipulation;
14                          Summary of Witness Testimony and Time Estimates; Status Report re:
15                          Settlement; Agreed-upon Set of Jury Instructions and Verdict Forms; Joint
16                          Statement re: Disputed Instructions, Verdicts, etc. is continued to August
17                          14, 2019;
18
19               5.         The last day for hearing motions (including Motions for Summary
20                          Judgment) is continued to July 1, 2019 at 1:30 p.m.;
21
22               6.         The discovery cut-off is continued to June 14, 2019; and
23
24               7.         And any remaining trial- and discovery-related deadlines shall also be
25                          continued and triggered from the new trial date, as appropriate.
26
                                                                                              DENIED
27 Date:
28                                                                              Honorable John F. Walter

       KOH01-68:[Proposed] Order Granting Joint Stipulation and Request to Continue Trial and All Associated Pre-Tri.DOCX:2-26-19   -2-
              [PROPOSED] ORDER GRANTING JOINT STIPULATION AND APPLICATION TO CONTINUE TRIAL
